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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01654-MSK-MJW

  SAUNDERS-VELEZ,

          Plaintiff,

  v.

  COLORADO DEPARTMENT OF CORRECTIONS (CDOC),
  TRAVIS TRANI, in his official capacity as Director of Prisons,
  MIKE ROMERO, in his official capacity as Colorado Territorial Correctional Facility Warden,
  RICK RAEMISCH, in his official capacity as Executive Director of Colorado Department of
  Corrections,
  RYAN LONG, in his official capacity as Denver Reception and Diagnostic Center Warden,
  KELLIE WASKO, in her official capacity as Deputy Executive Director of Colorado
  Department of Corrections,
  DENVER RECEPTION AND DIAGNOSTIC CENTER (DRDC), and
  THE COLORADO TERRITORIAL CORRECTIONAL FACILITY (CTCF),

        Defendants.
  ______________________________________________________________________________

                   AMENDED EMERGENCY EX PARTE REQUEST
                     FOR TEMPORARY RESTRAINING ORDER
  ______________________________________________________________________________

          Comes now, Paula Greisen and Meredith Munro, of King & Greisen, LLP, as counsel for

  Lindsay Saunders-Velez, and hereby AMENDS the Emergency Temporary Restraining Order

  Pursuant to Fed. R. Civ. P., Rule 65, filed this morning on April 20, 2018 to add pertinent facts,

  including additional facts that occurred after the initial filing of this Request, and state as

  follows:

          1.       During the late morning of April 19, 2018, undersigned counsel was retained to

  represent Plaintiff in this case. At that time, counsel was informed that Ms. Saunders-Velez was

  scheduled to be moved as a result of disciplinary proceedings to the punishment pod of
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  CellHouse 3 in the Colorado Territorial Correctional Facility (“CTCF”) at the Colorado

  Department of Corrections (“CDOC”).

         2.      Ms. Saunders-Velez just turned 20 years of age. She has lived as a female since

  she was 8 years of age. She started hormone replacement therapy at 15. 1 She has been

  diagnosed by the State of Colorado as having gender dysphoria and continues to be on approved

  hormone replacement therapy to correct her gender identity to that of a female. From 2014 until

  2017, she was housed at the Colorado Division of Youth Services in the female facility.

         3.      It is our understanding that Ms. Saunders-Velez was sent to CDOC upon a

  probation violation in 2017 and is now being held in the male facility at CTCF, despite her

  previous housing in the female facility at the Colorado Division of Youth Corrections.

  Physically, Ms. Saunders-Velez appears as a female, and has developed breasts as a normal part

  of the hormone replacement therapy. Nevertheless, she was placed in the male CDOC facility in

  May 2017 and thereafter filed this case pro se.

         4.      Upon her placement at CTCF, Ms. Saunders-Velez was originally housed in

  CellHouse 3 for about four months. The cells in CellHouse3 are “wet” cells, which have a toilet

  in the cell. The cells themselves are open – meaning that the cell doors are made only of bars

  which allow anyone to see into the cell at any time. The shower facilities are also open and

  provide no privacy.

         5.      During the time Ms. Saunders-Velez was housed in Cellhouses 3, CDOC gave her

  what it calls a “privacy screen” -- a temporary sheet she could place on the cell bars that


  1 Undersigned counsel has just been retained and has not yet received any medical records or
  any of the other records regarding this case. The information presented by undersigned counsel
  has been provided either from Ms. Saunders-Velez or from her previous counsel.
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  ostensibly would allow her to use the bathroom in private. However, the male inmates

  repeatedly tore down these sheets and exposed her while she was attempting to use the restroom

  facilities. In fact, given the lack of supervision on this unit, male inmates often repeatedly

  exposed themselves to her, sexually harassed her, and asked and/or demanded sexual favors.

         6.      After repeated complaints by Ms. Saunders-Velez, CDOC eventually moved her

  out of CellHouse 3 into CellHouse 7. Although she has a male roommate in her cell, that inmate

  respects her privacy and she is allowed to shower and use the toilet facilities in private.

  However, one of the male guards repeatedly grabbed her breasts during pat-down searches.

         7.      Repeatedly throughout her incarceration in CDOC, Ms. Saunders-Velez has been

  repeatedly threated with sexual assault and/or the request for sexual favors. In September 2017,

  she was transferred to Arkansas Valley Correctional facility. At that facility, a gang of male

  inmates approached her and demanded sex – within a few hours of her arrival at the facility. To

  escape the sexual assaults, she swallowed razors and was hospitalized. She was thereafter sent to

  the Centennial facility for treatment, and then returned to CTCF.

         8.      Upon her return to CTCF, CTCF’s refused to acknowledge Ms. Saunders-Velez’s

  status as a female, to allow her privacy, to allow her to obtain goods from the canteen such as

  female undergarments, including a bra, makeup, and other feminine products. It also refused to

  address Ms. Saunders-Velez by her female name and to use the appropriate gender pronoun

  when referring to her, and precluded her from sending legal mail under her female name, until

  the Court intervened on that issue.

         9.      In December 2017, Ms. Saunders-Velez was sexually assaulted by a male inmate,

  as detailed in her Amended Complaint in this case.


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         10.     In the spring of 2018, Ms. Saunders-Velez was accused of kissing a male inmate,

  a charge she strenuously denies, was convicted, and given 30 days of loss of privileges (“LOP”).

  She was then informed that she would be transferred to CellHouse 3’s punishment pod for this

  30-day sentence.

         11.     The punishment pod in CellHouse 3 has very little supervision by prison staff.

  Ms. Saunders-Velez has informed CDOC that there are several individuals who are believed to

  be currently housed in that pod who have threatened her with sexual assault and/or requested

  sexual favors from her. These individuals are known as “Wet-O,” “Angelo,” “G-String” and

  “Wing.”

         12.     On the afternoon of April 19, 2018, undersigned counsel contacted counsel for the

  CDOC, Chris Alber, regarding the serious safety concerns that existed with placing Ms.

  Saunders-Velez in the punishment pod at CellHouse 3. Undersigned counsel informed Mr.

  Alber that this pod was not an appropriate placement for Ms. Saunders-Velez because that

  location was non-compliant with the requirements of the Prison Rape Elimination Act (“PREA”)

  because it did not sufficiently address her serious privacy and safety concerns. Undersigned

  counsel requested that Mr. Alber arrange for Ms. Saunders-Velez to have a phone call with

  undersigned counsel that afternoon, and he stated he would attempt to arrange that call.

         13.     Undersigned counsel also informed Mr. Alber that if these safety concerns were

  not addressed, that an emergency request for a temporary restraining order would be requested

  from the Court.

         14.     During the call with Mr. Alber, he stated that he would not be in a position to

  address an emergency request because he was “in trial” and that he could not confer with


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  undersigned counsel again regarding the matter until Friday afternoon – but suggested that we

  file a motion and he would respond next week.

         15.     At approximately 3:00 p.m., Mr. Alber contacted undersigned counsel again and

  stated that a call had been arranged with Ms. Saunders-Velez and undersigned counsel at 3:30.

  Mr. Alber also stated that he had spoken with CDOC, that Ms. Saunders-Velez was scheduled to

  be transferred to CH3 by 10:00 a.m. on April 20, 2018. He further stated that Ms. Saunders-

  Velez would be given a “privacy screen” while housed in CellHouse3. This is the same “screen”

  she had been given before that was not effective in securing her privacy.

         16.     At approximately 3:40 p.m. on April 19, 2018, undersigned counsel had a phone

  call with Ms. Saunders-Velez. At that time, Ms. Saunders-Velez expressed extreme concern that

  there are currently four individuals who are housed in the punishment pod that have threatened

  her with sexual assault and/or asked her for sexual favors. As an officer of the Court,

  undersigned counsel can also represent that during that call, Ms. Saunders-Velez repeatedly

  expressed genuine fear that she would be subjected to sexual violence if placed in CellHouse 3,

  and cried throughout the call. It is apparent to undersigned counsel that Ms. Saunders-Velez is in

  real fear for her safety and that she is suffering from significant emotional distress as a result of

  these fears. Because of her history of self-harm, undersigned counsel has serious concerns that if

  placed in CellHouse 3, her mental health may deteriorate again to the point where she inflicts

  injury upon herself.

         17.     After the call with Ms. Saunders-Velez, undersigned counsel sent an email to Mr.

  Alber again reiterating the serious safety concerns that existed with placing Ms. Saunders-Velez

  in CellHouse 3, providing him the names of the individuals that had previously threatened her,


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  and explaining that the “privacy screens” were not sufficient to ensure her safety, as required by

  the PREA. Undersigned counsel also informed Mr. Alber that by placing Ms. Saunders-Velez in

  CellHouse 3 under these circumstances, that CDOC was knowingly placing her in a situation

  where she faced serious risk of bodily harm and extreme emotional distress.

         18.     When undersigned counsel got a “bounce-back” email saying the email had been

  received, but contained “errors,” she then called Mr. Alber at approximately 6:30 on the evening

  of April 19, 2017, reiterating these concerns. The message on his phone stated that the call was

  being forwarded to his cell phone. Although undersigned counsel left her cell phone number

  asking for Mr. Alber to contact her about the matter, Mr. Alber did not return that call.

         19.     Undersigned counsel sent the email again to Mr. Alber this morning, April 20,

  2018, and it appears to have been received. At 9:30 this morning, undersigned counsel again

  contacted Ms. Saunders-Velez by phone. At that time, Ms. Saunders-Velez informed

  undersigned counsel that she had been moved to CellHouse 3 at 7:30 a.m. this morning, was

  housed in the punishment pod on the second tier in cell B-2, L-4. Ms. Saunders-Velez has not

  been provided any privacy screen. In any event, as the privacy screens only cover the exterior

  cell bars, even if she is provided such a screen, it would not provide her any privacy from her

  cellmate.

         20.     Ms. Saunders-Velez has informed undersigned counsel that upon her arrival to the

  pod, she was met by “cat-calls” from several of the male inmates. One male inmate stood in his

  cell, while asking her to come to him as he groped his genitals. Ms. Saunders-Velez has also

  learned that at least one of the four individuals who have previously threatened her with sexual

  assault, “Angelo,” is still housed in this pod.


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         21.     Undersigned counsel believes that there will be immediate and irreparable injury

  and damage to Ms. Saunders-Velez if she is not immediately removed from CellHouse3 and

  placed in a unit that is PREA compliant and ensures her physical and mental safety. Pursuant to

  this Court’s Civil Practice Standards Rule 7.8 and Fed. R. Civ. P., Rule 65, undersigned counsel

  attaches an Affidavit to this motion regarding these facts.

         22.     As stated above, undersigned counsel has attempted to contact CDOC counsel on

  the evening of April 19. Another call was placed to Mr. Alber this morning at approximately

  10:00 a.m. and left another voicemail message. According to the information Mr. Alber

  provided yesterday, he is in trial and not available to deal with this matter in any substantive

  manner until after the weekend.

         23.     At 10:00 a.m. this morning, undersigned counsel received a response email from

  Mr. Alber stating “I received your email this morning. I have forwarded your email on to the

  facility.” No other information was provided regarding what, if any steps, would be taken prior

  to the weekend.

         24.     Undersigned counsel has never been given any reason why the move of Ms.

  Saunders-Velez could not be delayed until the parties have an opportunity to address the matter

  with this Court. Instead, CDOC went forward with the move and thus necessitating this motion.

  Undersigned counsel will ensure that any security determined necessary by the Court pursuant to

  Fed.R.Civ.P. Rule 65(c) shall be provided.

         25.     Upon information and belief, other male inmates have been allowed to serve

  sentences resulting from disciplinary actions in their current cells, rather being placed in the

  punishment pod at CellHouse 3.


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         26.      Specifically, an inmate by the name of Robert Drake is believed to serving a 20-

  day loss of privileges (LOP) sentence in his housing cell because of security concerns placing

  him in CellHouse 3.

         27.     Ms. Saunders-Velez is not asking for a reprieve of her LOP, but simply to be

  allowed to serve her disciplinary sentence in the same manner that other inmates can do “In

  Place” in their current housing – because of her significant safety and mental health concerns.

         ADDITIONAL FACTS SINCE FILING THE ORIGINAL REQUEST FOR A TRO

         28.     This afternoon the undersigned spoke with Ms. Saunders-Velez who tearfully

  described that she has already been assaulted in CellHouse 3. Ms. Saunders-Velez was pulled

  into another inmate’s cell. After she entered this individual’s cell, two other men entered the

  room after her, trapping her in the cell. Ms. Saunders-Velez was asked why she was “so uptight”

  and told to “relax.” The first inmate then pulled down his pants and demanded oral sex from Ms.

  Saunders-Velez.

         29.     Ms. Saunders-Velez was terrified. There were no guards present to protect her. If

  lockdown had not then been announced, Ms. Saunders-Velez would have been physically

  assaulted against her will.

         30.     After the assault, Ms. Saunders-Velez was too afraid to inform the prison guards

  because she fears that she will be retaliated against and placed in solitary confinement in the hole

  in CellHouse 3. Ms. Saunders-Velez has informed the undersigned that she has a history of

  harming herself in the hole.

         31.     Accordingly, we reiterate our move for an Emergency Ex Parte Temporary

  Restraining Order to prohibit CDOC from holding Ms. Saunders-Velez in the punishment pod at


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  CellHouse 3 and instead, to allow her to complete her disciplinary sentence “In Place” in her

  current housing in CellHouse 7. We also move for an Order prohibiting CDOC from retaliating

  against Ms. Saunders-Velez for complaining about her conditions and for filing this Request,

  including placing her in solitary confinement or the hole.

         DATED this 20th day of April, 2018.

                                               Respectfully submitted,

                                               s/ Paula Greisen
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